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             EXHIBIT 11
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The International Labour Organization

The International Labour Organization was founded in 1919 to promote social
justice and, thereby, to contribute to universal and lasting peace. Its tripartite
structure is unique among agencies affiliated to the United Nations; the ILO's
Governing Body includes representatives of government and of employers' and
workers' organizations. These three constituencies are active participants in
regional and other meetings sponsored by the ILO, as well as in the International
Labour Conference - a world forum which meets annually to discuss social and
labour questions.

Over the years, the ILO has issued for adoption by member States a widely
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The ILO provides expert advice and technical assistance to member States
through a network of offices and multidisciplinary teams in over 40 countries. This
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employment promotion, training in small business development, project manage-
ment, advice on social security, workplace safety and working conditions, the
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                of the ILO International
             Classification of Radiographs
                  of Pneumoconioses
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    OCCUPATIONAL SAFETY AND HEALTH SERIES No. 22 (Rev. 2000)




    GUIDELINES FOR THE USE
   OF THE ILO INTERNATIONAL
CLASSIFICATION OF RADIOGRAPHS
     OF PNEUMOCONIOSES



                    Revised edition 2000




      INTERNATIONAL LABOUR OFFICE· GENEVA
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         Foreword



           Over the last seven decades the International Labour Office (ILO) has promoted
discussion and published a series of guidelines on how to classify chest radiographs of
persons with pneumoconioses. The goals have been to standardize classification methods
and facilitate international comparisons of data on pneumoconioses, epidemiological
investigations and research reports. This revised edition of the ILO's International Clas-
sification of Radiographs of Pneumoconioses is a further effort towards these objectives.
Based on the principles that governed the development of earlier editions of the Classifi-
cation (those of 1950, 1958, 1968, 1971 and 1980), it refers to radiological appearances
seen in all types of pneumoconioses. The description of the scheme in this revision of the
Guidelines is more concise than previously. Some ambiguities in earlier editions have been
clarified further, and the conventions for classifying pleural abnormalities have been
revised. The changes are based on a comprehensive review of experience in using the
preceding (1980) edition of the Classification.
           The ILO initiated the review process in November 1989 at a meeting of
11 experts from seven countries. Participants were asked to advise on the kind of changes
to the scheme that might be desirable, and to reconsider the suitability of the standard
radiographs that accompanied the 1980 edition. Some parts of the Guidelines were iden-
tified as requiring revision, but the importance of continuity in the Classification was re-
emphasized. With this in mind, it was agreed that the set of standard radiographs that were
distributed with the 1980 edition should be retained, although it was recognized that the
technical quality of many of them was inferior to that available with modem equipment
and techniques. Participants in the meeting also suggested that the number of radiographs
included in the complete set of standards (22) might be usefully reduced by reproducing
critical parts from some of them onto quadrant sections of full-size radiographs. It was
agreed, however, that it was necessary to verify that such a reforin would not, in itself,
result in a change in the way that radiographs of persons exposed to dust were classified.
A controlled trial was therefore arranged by the ILO and the Division of Respiratory
Disease Studies of the United States National Institute for Occupational Safety and Health
(NIOSH). This involved 40 physicians, working at specialized clinical and research
centres in ten countries (see Appendix F).
           Results from the trial showed that the proposed modification to the ILO standard
radiographs, involving reproduction of sections from 15 of the ILO (1980) standards onto
five new "quadrant" radiographs, would not increase variability between readers, and
might improve the reproducibility of small-opacity profusion classification in some
respects, but could also reduce slightly the frequency with which some readers identify
large opacities. Use of the standards containing the quadrant radiographs was associated
with an increase in the frequency with which some readers described the shapes of the
small opacities that they saw as predominantly irregular, rather than rounded. It was

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concluded, however, that the effects found were unlikely to be distinguishable from inter-
and intra-reader variability in most occupational health survey situations. I
           In October 1997 more than 200 participants in the Ninth International Confer-
ence on Occupational Respiratory Diseases in Kyoto, Japan, attended an ILO-convened
Working Group on the Classification. That meeting recommended further work on the
development of quadrant or sectional composite radiographs and improved techniques for
standard radiograph reproduction prior to the introduction of revised standard radiographs.
A smaller group of experts attending the same conference then considered in detail a draft
revised text of the Guidelines to the Classification. Discussion of this draft continued at a
further meeting in March 1998 at the offices of the American College of Radiology (ACR)
in Reston, Virginia, and was concluded on 26 October 2000 at the ILO Branch Office in
Washington, DC. Participants in the latter meeting also compared two types of new copies
of several sets of ILO (1980) standard radiographs, of sectional quadrant radIographs that
had been used in the international trial, and of a newly prepared composite radiograph
illustrating pleural abnormalities. The new copies that were under review were produced
from earlier copies, both by standard film copying methods and by improved techniques
from digitized versions of the earlier copies. The experts preferred the copies made from
the digitized versions, and they recommended the use of this technology and the associ-
ated reproduction process for producing future copies of ILO standard radiographs. The
individuals who attended the various ILO-convened meetings concerned with the revision
of the Classification are listed in Appendix F.
           The ILO (2000) International Classification of Radiographs of Pneumoconioses
is accompanied by two sets of standard radiographs, as described in Appendix C. Both sets
are available from the ILO. The first ("Complete") Set consists of 22 radiographs. Twenty
of them are new copies from digitized full-size standard radiographs distributed previously
with the 1980 edition of the ILO Classification. A further radiograph illustrates u/u-sized
irregular opacities. Three quadrants of this radiograph reproduce the sections of the
composite radiograph that was used in 1980 to depict increasing profusion of u/u-sized
irregular opacities; the fourth quadrant illustrates subcategory 010. A new composite
radiograph is provided to illustrate pleural abnormalities.
           The "Quad" Set consists of 14 radiographs. Nine of them are the most commonly
used standards from the Complete Set. The other five reproduce (quadrant) sections of the
remaining radiographs in the Complete Set.
           The development of this revised (2000) edition of the Guidelines for the Use of
the ILO International Classification ofRadiographs of Pneumoconioses has been made
possible by virtue of intensive and sustained activity on the part of many individuals and
organizations. Some of them are named in Appendix F. Others, too numerous to list,
provided valuable comments and suggestions in writing and by contributing to discussions
at various scientific meetings, including four ILO international conferences on pneumo-
conioses and occupational lung diseases (Bochum, Germany, 1983; Pittsburgh, Pennsyl-
vania, 1987; Prague, 1992; and Kyoto, 1997). The ILO wishes to express its sincere thanks
to all concerned, and to acknowledge gratefully the active assistance from the Committee
on Pneumoconiosis (previously the Task Force on Pneumoconiosis) of the American
College of Radiology (ACR), the United States National Institute for Occupational Safety
and Health (NIOSH), the Rosai Hospital for Silicosis in Japan, the WHO Collaborating

            I A trial of additional composite standard radiographs for use with the ILO International Classifi-

cation of Radiographs of Pneumoconioses, NIOSH Report No. HETA 93-0340, July 1997, available from
National Technical Information Service (NTIS), 5825 Port Royal Road, Springfield, Virginia 2216, United States.
A shorter report has been published: "New composite ("Quadrant") standard films for classifying radiographs
of pneumoconioses", in Industrial Health, Vol. 36, No.4, Oct. 1998, pp. 380-383.


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         FOREWORD



Centre for Radiological Education in Sweden, the Finnish Institute of Occupational
Health, the Gennan Committee for Diagnostic Radiology of Occupational and Environ-
mental Diseases, and the Institute for Occupational and Social Medicine of the University
of Cologne. Continuing use of the ILO International Classification of Radiographs of
Pneumoconioses will contribute further to the protection of the health of workers in dusty
occupations.




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          1

                    Introduction



          Scope of the Classification
           The Classification provides a means for describing and recording systematically
the radiographic abnormalities in the chest provoked by the inhalation of dusts. It is used
                                                                                           and
!gJ:lescriQ~, radiQg[~pJ:li~,::t.~I?:<:>I!P?J.iti~~,~:hat occur in any type of Elleumoconiosis' IS
designed for classifying only the appearances seen on postero-anterior chest radiographs.
Other views and imaging techniques may be required for clinical assessment of individu-
als, but the ILO International Classification has not been designed to code such findings.



          Object of the Classification
          The object of the Classification is to codify the radiographic abnormalities of the
pneumoconioses in a simple, reproducible manner. The Classification neither defines
pathological entities nor takes into account working capacity. It does not imply legal defin-
itions of pneumoconioses for compensation purposes and does not set or imply a level at
which compensation is payable.



          Uses of the Classification
         The Classification is used internationally for epidemiological research, for
screening and surveillance of those in dusty occupations, and for clinical purposes. Use
of the scheme may lead to better international comparability of data concerning the
pneumoconioses.



          Standard radiographs and written definitions
         The Classification consists of a set of standard radiographs and this text, with the
accompanying footnotes. These footnotes are intended to reduce ambiguity and are based
on experience with earlier editions of the ILO Classification. In some parts of the scheme,
the standard radiographs take precedence over the written definitions. The text makes it
clear when this is so.

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         2

                       General instructions



         No radiographic features are pathognomonic of dust exposure. Some radio-
graphic features that are unrelated to inhaled dust may mimic those caused by dust. Read-
ers may differ about the interpretation of such appearances.                   .

          In epidemiological studies, therefore, the study protocol will usually require that
all appearances described in these Guidelines and seen on the standard radiographs are to
be classified. Symbols must always be used and appropriate Comments must be reported. l

          When the Classification is used for some clinical purposes, the protocol may
require that medical readers classify only those appearances which the reader believes or
suspects to be pneumoconiotic in origin. Symbols must always be used and appropriate
Comments must be reported. 1




         I   See sections 3.4 and 3.5.


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           3

                       Specific instructions for use of
                       the Complete Classification


           3.1.        Technical quality2,3
           Four grades of technical quality are used:
           1. Good.
           2. Acceptable, with no technical defect likely to impair classification of the
              radiograph for pneumoconiosis.
           3. Acceptable, with some technical defect but still adequate for classification
              purposes.
           4. Unacceptable for classification purposes.

           If technical quality is not grade 1, a Comment must be made about the technical
defects.



           3.2.        Parenchymal abnormalities
           Parenchymal abnormalities include both small opacities and large opacities.


           Small opacities
         Small opacities are described by profusion, affected zones of the lung, shape
(rounded or irregular) and size. The order of identifying and recording the presence or
absence of these findings while classifying a radiograph is left to the reader's preference.

           Profusion
         The profusion of small opacities refers to the concentration of small opacities in
affected zones of the lung. The category of profusion is based on comparisons with the
standard radiographs. For profusion the written descriptions are a guide, but the standard

             2 Appendix A emphasizes the importance of good radiographic quality for the interpretation of chest
radiographs. It is essential to produce radiographs that show clearly both the parenchyma and the pleural char-
acteristics. For clinical purposes, special views or techniques may also be required. When it is not possible to
replace a grade 3 radiograph by a better one, more details about technical defects should be recorded.
             3 The standard radiographs are not to be considered in determining technical quality of the subject

radiographs. The standard radiographs were chosen to demonstrate the radiographic features of the pneumo-
conioses, rather than to demonstrate technical quality.


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            GUIDELINES FOR THE USE OF RADIOGRAPHS OF PNEUMOCONIOSES



radiographs take precedence. Four categories are defined by the standard radiographs.
Profusion is classified into one of 12 ordered subcategories, which are represented
symbolically as follows. 4



   Increasing profusion of small opacities - - - - - - - - - - - - - - -.......



I Categories                                   o                  1                   2                  3


   Subcategories


           Category 0 refers to the absence of small opacities or the presence of small opac-
ities that are less profuse than category 1.
           Classification of a radiograph using the 12-subcategory scale is performed as
follows. The appropriate category is chosen by comparing a subject radiograph with stan-
dard radiographs that define the levels of profusion characteristic of the centrally placed
subcategories (0/0,1/1,2/2,3/3) within these categories. The category is recorded by writ-
ing the corresponding symbol followed by an oblique stroke, i.e. 0/ , 1/ , 2/ ,31. If no alter-
native category was seriously considered, the radiograph is classified into the central
subcategory, i.e. 0/0, 1/1, 2/2, 3/3. For example, a radiograph that shows profusion which
is considered to be similar to that shown on a subcategory 2/2 standard radiograph, i.e.
neither category 1 nor 3 was seriously considered as an alternative, would be classified as
2/2. However, subcategory 2/1 refers to a radiograph with profusion of small opacities
judged to be similar in appearance to that depicted on a subcategory 2/2 standard radio-
graph, but category 1 was seriously considered as an alternative before deciding to clas-
sify it as category 2.
           The standard radiographs provide examples of appearances classifiable as
subcategory 0/0. Subcategory % refers to radiographs where there are no small opacities,
or if a few are thought to be present, they are not sufficiently definite or numerous for cate-
gory 1 to have been seriously considered as an alternative. Subcategory 0/1 is used for
radiographs classified as category 0 after having seriously considered category 1 as an
alternative. Subcategory 1/0 is used for radiographs classified as category 1 after having
seriously considered category 0 as an alternative. If the absence of small opacities is partic-
ularly obvious, then the radiograph is classified as subcategory 0/-.
           A radiograph showing profusion much greater than that depicted on a subcat-
egory 3/3 standard radiograph is classified as subcategory 3/+.


            • The 12 subcategories refer only to the profusion of small opacities. Profusion, including references
to subcategories 0/- or 0/0 when appropriate, must always be recorded, irrespective of any other abnormalities
that may be present. Conversely, when other abnormalities are seen, their presence must also be recorded, ir-
respective of whether any small opacities are present. The subcategories are arbitrary divisions of an underlying
continuum of increasing profusion of small opacities. Those divisions are defined by the standard radiographs,
together with the instructions for their use. The validity of the classification procedure to represent this contin-
uum has been demonstrated in studies of relationships between results obtained by using the ILO Classification
and (a) indices of cumulative exposures to various dusts; (b) the dust content of coalminers' lungs post mortem;
(c) mortality of asbestos workers and coalminers; and (d) pathological appearances of coalminers' lungs post
mortem.


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            INSTRUCTIONS FOR USE OF THE COMPLETE CLASSIFICATION




            Affected zones
           The zones in which the opacities are seen are recorded. Each lung field is divided
 into three zones (upper, middle, lower) by horizontal lines drawn at approximately one-
 third and two-thirds of the vertical distance between the lung apices and the domes of the
 diaphragm.
           The overall profusion of small opacities is determined by considering the profu-
 sion as a whole over affected zones of the lungs. When there is a marked (three subcat-
 egories or more) difference in profusion in different zones of the lungs, then the zone or
 zones showing the marked lesser degree of profusion is/are ignored for the purpose of clas-
 sifying the overall profusion. 5

            Shape and size
          For shape and size, the written definitions are a guide, and the standard radio-
 graphs take precedence. The shape and size of small opacities are recorded. Two kinds of
 shape are recognized: rounded and irregular. In each case, three sizes are differentiated.
          For small rounded opacities, the three size ranges are denoted by the letters p, q
 and r, and are defined by the appearances ofthe small opacities on the corresponding stan-
 dard radiographs. These illustrate:
          p-opacities with diameters up to about 1.5 mm;
          q-opacities with diameters exceeding about 1.5 mm and up to about 3 mm;
          r-opacities with diameters exceeding about 3 mm and up to about 10 mm.
          The three size ranges of small irregular opacities are denoted by the letters s, t
 and u, and are defined by the appearances of the small opacities on the corresponding stan-
 dard radiographs. These illustrate:
          s-opacities with widths up to about 1.5 mm;
          t-opacities with widths exceeding about 1.5 mm and up to about 3 mm;
          u-opacities with widths exceeding about 3 mm and up to about 10 mm.


             5 A "marked (three subcategories or more) difference" in profusion in different zones of the lung is

present when there are two or more subcategories of profusion between the zone (or zones) of the lowest profu-
sion and the zone (or zones) of the highest profusion. For example, if a subject radiograph displays zones with
profusion levels 1/1, 1/2,2/1 and 2/2, the overall profusion is determined by ignoring the zone with profusion level
1/1, since two or more subcategories (1/2, 2/1) are between that zone and the zone of the highest profusion (2/2).
The overall profusion, therefore, is determined by considering only the affected zones showing profusion levels
1/2, 2/1 and 2/2, since there is only one subcategory of profusion (2/1) between profusion levels 1/2 and 2/2.
Example 1
Only one intervening subcategory between the zones of lowest (1/2) and highest (2/2) profusion; use all three to
determine overall profusion.
            T                      ...
 1/1       1/2        2/1         2/2
 ....                              ....
There are two intervening subcategories between the zones of lowest (1/1) and highest (2/2) profusion; ignore
1/1 to determine overall profusion.
Example 2
Only one intervening subcategory between the zones oflowest (2/1) and highest (2/3) profusion; use all three to


1/1        1/2
                      ...
determine overall profusion.
                        ~-----

                      2/1        2/2
                                             ...
                                            2/3
....                                         ....
  There are three intervening subcategories between the zones oflowest (1/1) and highest (2/3) profusion; ignore
. 1/1 and 1/2; use 2/1, 2/2, 2/3 to determine overall profusion since there is only one subcategory between 2/1
  and 2/3.
 All zones in which opacities are seen are recorded, irrespective of whether some are later ignored in determin-
  ing overall profusion.                                                                  .


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           Two letters must be used to record shape and size. Thus, if the reader considers
that all, or virtually all, opacities seen are of one shape and size, then this is noted by
recording the letter twice, separated by an oblique stroke (for example q/q). If, however,
significant numbers of another shape or size are seen, then this is recorded by writing a
different letter after the oblique stroke (for example q/t); q/t would mean that the predom-
inant small opacities are rounded and of size q, but that there are significant numbers of
small irregular opacities present of size t. In this way, any combination of small opacities
may be recorded. 6 When small opacities of different shapes and/or size are seen, the letter
for the predominant shape and size (primary) is recorded before the oblique stroke, while
the letter for the less frequently occurring shape and size (secondary) is recorded after the
oblique stroke.

            Large opacities
         A large opacity is defined as an opacity having the longest dimension exceeding
10 mm. Categories of large opacities are defined below. These definitions take precedence
over the examples of large opacities illustrated on standard radiographs.
Category A One large opacity having the longest dimension up to about 50 mm, or
              several large opacities with the sum of their longest dimensions not exceed-
              ing about 50 mm.
Category B One large opacity having the longest dimension exceeding 50 mm but not
              exceeding the equivalent area of the right upper zone, or several large opac-
              ities with the sum of their longest dimensions exceeding 50 mm but not
              exceeding the equivalent area of the right upper zone.
Category C One large opacity which exceeds the equivalent area of the right upper zone,
              or several large opacities which, when combined, exceed the equivalent area
              of the right upper zone.



            3.3.        Pleural abnormalities
         Pleural abnormalities are divided into pleural plaques (localized pleural thick-
ening), costophrenic angle obliteration and diffuse pleural thickening.


            Pleural plaques (localized pleural thickening)
          Pleural plaques represent localized pleural thickening, generally of the parietal
pleura. Pleural plaques may be seen on the diaphragm, on the chest wall (in-profile or face-
on), and at other sites. At times, they are recognized only by their calcification; Pleural
plaques are recorded as absent or present. If present on the chest wall, they are recorded
as in-profile or face-on, and separately for the right and left sides. A minimum width of
about 3 mm is required for an in-profile plaque to be recorded as present.7· 8

            6 See Appendix E for possible combinations.
            1 The measurement of width is made from the innermost margin of the rib to the innermost sharp
margin of the plaque at the pleural-parenchymal boundary.
            8 If more detailed measurement of width is required for a particular study, three categories may be used:
a - about 3 mm up to about 5 mm;
b - about 5 mm up to about 10 mm;
c - over about 10 mm.


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          INSTRUCTIONS FOR USE OF THE COMPLETE CLASSIFICATION



          Site, calcification and extent of pleural plaques are recorded separately for the
right and for the left side of the chest. The written guidelines describing these features take
precedence over the examples provided on the standard radiograph.

          Site
          The sites (locations) of pleural plaques include chest wall, diaphragm and other
sites. Other sites include the mediastinal pleura in the para-spinal or para-cardiac loca-
tions. The presence or absence of pleural plaques is recorded for all sites, and separately
for the right and for the left sides.

          Calcification
          Radiographic images of pleural plaques may include recognizable areas of calci-
fication. The presence or absence of calcification is recorded for all plaques, and separ-
ately for the right and for the left sides. When calcification is seen, a plaque is also
recorded as present at that site.

          Extent
          Extent is not recorded for plaques on the diaphragm or at other sites. It is
recorded only for plaques along the chest wall, and is combined for both in-profile and
face-on varieties. Extent is defined in terms of the total length of involvement with respect
to the projection of the lateral chest wall (from the apex to the costophrenic angle) on the
postero-anterior chest radiograph:
          I = total length up to one-quarter of the projection of the lateral chest wall;
          2 = total length exceeding one-quarter and up to one-half of the projection of
               the lateral chest wall;
          3 = total length exceeding one-half of the projection of the lateral chest wall.


          Costophrenic angle obliteration
          Costophrenic angle obliteration is recorded as either present or absent, separately
for the right and for the left side. The lower limit for recording costophrenic angle oblit-
eration is defined by the standard radiograph showing profusion subcategory 1/1 tit. If the
pleural thickening extends up the lateral chest wall from the obliterated costophrenic
angle, the thickening should be classified as diffuse pleural thickening. Costophrenic angle
obliteration may occur without diffuse pleural thickening.


         Diffuse pleural thickening
          Diffuse pleural thickening historically has referred to thickening of the visceral
pleura. The radiological distinction between parietal and visceral pleural thickening is not
always possible on a postero-anterior radiograph.
          For the purpose of the ILO (2000) Classification, diffuse pleural thickening
extending up the lateral chest wall is recorded only in the presence of, and in continuity
with, an obliterated costophrenic angle. Diffuse pleural thickening is recorded as absent
or present along the chest wall. If present, it is recorded as in-profile or face-on, and sep-
arately for the right and the left side. Its extent is recorded in the same manner as for pleu-
ral plaques. A minimum width of about 3 mm is required for in-profile diffuse pleural

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thickening to be recorded as present. If detailed measurement of its width is required for
a particular study, see the comment provided in footnote 8.
          Calcification and extent of diffuse pleural thickening on the chest wall are
recorded separately for the right and for the left side (see guidelines for pleural plaques).
The pleura may often be seen at the apex of the lung and should not be recorded as part
of diffuse pleural thickening of the chest wall.



            3.4.        Symbols
           Symbols to record radiographic features of importance are listed below. Their
use is relevant because they describe additional features related to dust exposure and other
aetiologies. Use of these symbols is obligatory.9
           Some of the symbols imply interpretations, rather than just descriptions, of what
is seen on the radiograph. A postero-anterior chest radiograph on its own may not be suf-
ficient to justify definitive interpretation; therefore, each of the following definitions of
symbols assumes an introductory qualifying word or phrase such as "changes indicative
of", or "opacities suggestive of", or "suspect".
          The symbols are:
aa        atherosclerotic aorta
at         significant apical pleural thickening (see Appendix D)
ax        coalescence of small opacities IO
bu        bulla(e)
ea        cancer: thoracic malignancies excluding mesothelioma
eg        calcified non-pneumoconiotic nodules (e.g. granuloma) or nodes
en        calcification in small pneumoconiotic opacities
co        abnormality of cardiac size or shape
ep        cor pulmonale
ev        cavity
di        marked distortion of an intrathoracic structure
ef        pleural effusion
em        emphysema
es        eggshell calcification of hilar or mediastinal lymph nodes
fr        fractured rib(s) (acute or healed)
hi        enlargement of non-calcified hilar or mediastinal lymph nodes
ho        honeycomb lung
id        ill-defined diaphragm border ll
ih        ill-defined heart border 12
kl        septal (Kerley) lines
me        mesothelioma

           9 Inclusion of this information in statistical analyses of results may help to explain otherwise in-

explicable variation between readers in their classifications of the same radiographs.
            10 The symbol ax represents coalescence of small opacities with margins of the small opacities

remaining visible, whereas a large opacity demonstrates a homogeneous opaque appearance.The symbol ax
(coalescence of small opacities) may be recorded either in the presence or in the absence of large opacities.
            " The symbol id (ill-defined diaphragm border) should be recorded only if more than one-third of
one hemidiaphragm is affected.
            12 The symbol ih (ill-defined heart border) should be recorded only if the length of the heart border
affected, whether on the right or on the left side, is more than one-third of the length of the left heart border.


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            INSTRUCTIONS FOR USE OF THE COMPLETE CLASSIFICATION



pa          plate atelectasis
pb          parenchymal bands 13
pi          pleural thickening of an interlobar fissure 14
px          pneumothorax
ra          rounded atelectasis
rp          rheumatoid pneumoconiosis 15
tb          tuberculosis 16
od          other disease or significant abnormality I?



            3.5.        Comments
          If the technical quality of the radiograph is not recorded as 1 (good), then a
Comment on why this is so should be made at that time, before proceeding with the clas-
sification.
          Comments are also required if the symbol od (other disease) is recorded, and to
identify any part of the reading of a chest radiograph which is believed by a reader to be
probably or certainly not dust related.
          Comments should also be recorded to provide other relevant information.




           13 Significant parenchymal fibrotic strands in continuity with the pleura.
           14 Illustrated on the 3/3 sis standard radiograph.
           15 Illustrated on the III pip standard radiograph.

           16 The symbol tb should be used for either suspect active or suspect inactive tuberculosis. The symbol

tb should not be used for the calcified granuloma of tuberculosis or other granulomatous processes, e.g. histo-
plasmosis. Such appearances should be recorded as eg.
           17 If the symbol od is used, then an explanatory Comment must be made.




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         4

                  Specific instructions for the use of the
                  Abbreviated Classification


       The Abbreviated Classification, described below, is a simplified version of the
Complete Classification and includes its major components.



         Technical quality
        The recording of the technical quality of the radiograph is the same as for the
Complete Classification (see section 3.1).



         Small opacities
           Profusion is determined by comparison with standard radiographs and recorded
as one of the categories: 0, 1,2 or 3 (see section 3.2).
           Shape and size are determined by comparison with standard radiographs. The
predominant shape and size are recorded using only one of the following letters: p, q, r,
S, t or u (see section 3.2).




         Large opacities
        Large opacities are recorded as size A, B or C, in the same way as for the
Complete Classification (see section 3.2).



         Pleural abnormalities
         All types of pleural thickening are recorded by the letters PT.
         All types of pleural calcifications are recorded by the letters Pc.




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INSTRUCTIONS FOR USE OF THE ABBREVIATED ClASSIFICATION




Symbols
Symbols are recorded as for the Complete Classification (see section 3.4).




 Comments
 Comments are recorded as for the Complete Classification (see section 3.5).




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         5

                  Using the ILO Classification



          Efficient use of the ILO Classification requires good viewing and recording
conditions. The following recommendations are particularly important for epidemiologi-
cal studies.



         Viewing
         The illuminated boxes for viewing the radiographs to be classified and the stan-
dard radiographs must be close enough for the observer to see opacities only I mm in
diameter, that is, a distance of about 250 mm. It is also essential to view the entire
radiograph. The observer should be seated comfortably.
          The minimum number of viewing spaces is two, allowing comparisons between
the subject radiograph and the standard radiographs. However, it is recommended that
three viewing spaces be used, so that the subject radiograph can be placed between the
appropriate standard radiographs to assess profusion. It is important to make it easy to
select and put up the standard radiographs for comparison, which is mandatory.
         The viewing surfaces must be clean and the intensity of illumination should be
uniform over all surfaces. The general illumination in the room should be low, without
direct daylight. The room should be quiet, comfortable and free from distractions.



         Epidemiological reading protocols
          When classifying radiographs for epidemiological purposes, it is essential that
the reader does not consider any other information about the individuals being studied.
Awareness of supplementary details specific to individuals can introduce bias into results.
If the epidemiological objective is to make comparisons between two or more groups, then
the radiographs from all groups should be mixed and presented to the reader in random
order. Failure to observe these principles may invalidate conclusions from the study.



         Recording
         Recording of results should be standardized and systematic. It is important to
make provision for recording explicitly the presence or absence of all features to be
evaluated for a particular study. Clerical help for recording results is valuable when

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         USING THE ILO CLASSIFICATION



classifying large numbers of radiographs. The clerical assistant should be asked to remind
the reader of failure to report the presence or absence of any features to be analysed in
the study.




         Reading rates
         The number of radiographs classifiable per unit of time can vary greatly. Factors
influencing reading rates include the technical quality of the radiographs, the prevalence
of abnormalities on the radiographs, the experience of the reader, the purpose of the read-
ing exercise and the length of the reading session.



         Number of readers
         It is recognized that there is considerable variation in multiple readings of some
radiographs, not only from reader to reader (inter-observer variation), but also between
readings by the same reader (intra-observer variation). It is recommended that, in epidemi-
ological studies, at least two, but preferably more, readers each classify all radiographs
independently.
         When many radiographs are being read, intra-observer variation, i.e. variation in
repeated readings by the same reader, should be assessed.




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         6

                  Appendices



          The appendices have been prepared by individual experts to assist understand-
ing of the principles and development of the ILO International Classification. They are not
part of the text of the ILO (2000) International Classification of Radiographs of Pneumo-
conioses. The ILO wishes to express its gratitude to Dr. Kurt G. Hering, Dr. Yutaka
Hosoda, Dr. Michael Jacobsen, Dr. Yukinori Kusaka, Mr. Otha W. Linton, Dr. John E.
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                   Appendix A - A note on technical quality
                   for chest radiographs of dust-exposed
                   workers

          It has long been recognized that the technique and equipment used for chest
radiographic imaging of dust-exposed workers affect the radiographic appearance of
pneumoconiotic lesions, and that this can influence the classification of a radiograph for
pneumoconiosis. Both clinical interpretations of chest radiographs, and the use of the ILO
Classification for medical screening, public health surveillance and epidemiological
research, require good-quality radiographs. Consequently, readers may find it difficult to
use the ILO Classification if the quality of chest radiographs is suboptimal. In some cases,
it may be impossible to classify such a radiograph. Provision has been made for this
contingency in section 3.1 of these Guidelines by the definition of technical quality grade 4
("unacceptable for classification purposes").
          Common quality faults include underexposure (often associated with a tendency
to read more profusion than would be recognized on an optimally produced radiograph)
and overexposure (associated with the converse tendency). Experienced readers may
sometimes adjust their assessments of such radiographs to compensate, to some extent,
for these perceived technical faults. Nevertheless, physicians and radiographers should
strive always to obtain good-quality radiographs.
          An optimal radiographic technique for the assessment of pneumoconiosis should
reveal the fine detail of parenchymal markings, demonstrate clearly the costal-pleural
junctions and show vascular markings through the cardiac shadow. It should be noted,
however, that good contrast, required to evaluate the pulmonary parenchyma, may be
suboptimal for assessment of mediastinal structures.
          Methods for imaging the chest for dust-related lung diseases continue to evolve
as new technologies are introduced. In view of these ongoing developments, it would be
inappropriate here to attempt to provide detailed technical advice on radiographic tech-
nique and equipment. Authoritative information on these topics may be found in a number
of specialist publications. A select bibliography is provided at the end of this appendix.
          These Guidelines require that a decision on whether a radiograph is of good, or
at least of acceptable, technical quality rests ultimately with the physician who classifies
the radiograph. Therefore, a key general principle must be the establishment and main-
tenance of good communication between the physician and the radiographer, so that high-
quality images, providing an adequate view of the pulmonary parenchyma and pleura, are
obtained. The radiographer must be well trained and supervised, and must work in a
climate that invites dialogue with the physician/reader. The physician must provide feed-
back to the radiographer to ensure improvement of any suboptimal images, and should
be prepared to advise on quality control for the production of chest radiographs of
dust-exposed workers. Physicians and radiographers should take cognizance of local
regulations.



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         Select bibliography
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        Chest Radiography. Reston, Va., American College of Radiology, 1997.

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       Diagnostic Radiographic Images, edited by J.H.E. Carmichael et al. Report OP-
       EUR 16260, Luxembourg, 1996.

Guibelalde, E., et al. "Image quality and patient dose for different screen-film combina-
         tions", in British Journal ofRadiology, Vol. 67, No. 794, Feb. 1994, pp.166-173.

Holm, T.; Palmer, P.E.S.; Lehtinen, E. Manual of radiographic technique: WHO Basic
        Radiological System. Geneva, World Health Organization, 1986.

International Labour Office. "Appendix A. Equipment and technology: Guidance notes",
          prepared by H. Bohlig et aI., in Guidelinesfor the Use ofILO International Clas-
          sification of Radiographs of Pneumoconioses. Geneva, revised edition 1980,
          pp.21-25.

Ravin, C.E.; Chotas, H.G. "Chest radiography", in Radiology, Vol. 204, No.3 (Sep.),
        1997, pp. 593-600.




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                   Appendix B - Reading sheets



         The reading sheets on the following pages are examples of what may be used
with the ILO (2000) International Classification of Radiographs of Pneumoconioses. In
some situations, clinical or epidemiological, other designs may be preferred for specific
uses. The sheets illustrated here make provision for recording all features described in the
Complete Classification and the Abbreviated Classification. However, they are not a
formal part of the ILO International Classification.




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                                                        READING SHEET FOR
                    COMPLETE ILO (2000) INTERNATIONAL CLASSIFICATION OF RADIOGRAPHS OF PNEUMOCONIOSES



READER CODE   000                                                          RADIOGRAPH IDENTIFIER  000000000
DATEOFREADING  00-00-0000                                                   DATE OF RADIOGRAPH    00-00-0000
TECHNICAL QUALITY

        Grade 1,2,3 or 4                                                                         (Mark appropriate box) IT] [II @][I]
                                                                                                   If grade not 1, Comment required here
Comment on technical quality:



PARENCHYMAL ABNORMALITIES
  Small opacities                                                                                                             [ill~[ill
        Profusion (l2-point scale)                                                                                            ~lliJ~
        0/- %       0/1   1/0   1/1   1/2   2/1   2/2   2/3   3/2   3/3   3/+                                                 lliJlliJ[ill
        (Consult standard radiographs - mark profusion subcategory.)                                                          ~lliJ[ill

        Affected zones                                                                                                             R    L

        (Mark ALL affected zones)                                                                                    Upper       00
                                                                                                                     Middle      00
                                                                                                                     Lower       00
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                  Shape and size: p, q, r, s, tor u                                                              Primary            Secondary
                  (Consult standard radiographs. Two symbols required;
                                                                                                                 [I]@]                [£]@J
......
\0
                  mark one primary and one secondary.)                                                           @][!J                @][!]
                                                                                                                 ~@]                  ~lEJ
           Large opacities                                                         Mark 0 for none or mark A, B, or C          [QJGJ[lli~


         PLEURAL ABNORMALITIES                                                                                              Yes   D No D
                                                                                                                        If "No" go to *SYMBOLS
         {O=None R=Right L=Left)

         PLEURAL PLAQUES
         Site                              Calcification        Extent (chest wall; combined for               Width (optional)
         (Mark appropriate boxes)          (Mark)               in-profile andface-on)                         (3 mm minimum width required)
                                                                   up to Y4 of lateral chest wall = 1             3 to 5 mm = a
                                                                   Y4 to Yz of lateral chest wall = 2             5to lOmm = b
                                                                   > Yz of lateral chest wall     = 3             >lOmm       =c
         Chest wall
           in profile



           face-on       [Q]lliHTI         [Q][E][]
           Diaphragm [Q]lliJ[]             [Q][E][]
           Other site(s) [Q]lliJ[]         @]~[]
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COSTOPHRENIC ANGLE OBLITERATION                  [Q] [B] [hJ

DIFFUSE PLEURAL                           Calcification            Extent (chest wall; combined for               Width (optional)
THICKENING                                (Mark)                   in-profile andface-on)                         (3 mm minimum width required)
(Mark appropriate boxes)                                              up to Y4 of lateral chest wall = 1             3 to 5 mm = a
                                                                      Y4 to Yz of lateral chest wall = 2             5 to lOmm = b
                                                                      > Yz of lateral chest wall     =3              > 10 mm     =c
Chest wall
  in profile



     face-on


*SYMBOLS                                                                                                                      Yes    D        No   D
y      ~   U    ~    ~     ~    ~     00    ~      ~   ill   cl em es                                          (Circle as appropriate; if od circled,
                                                                                                               COMMENT must be made below)
fr    hi   ho   id   ih   k1   me    pa     pb    pi   px    ra   rp   tb   od


COMMENTS                                                                                                                       Yes   D        No   D
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                                                    READING SHEET FOR
                   ABBREVIATED ILO (2000) INTERNATIONAL CLASSIFICATION OF RADIOGRAPHS OF PNEUMOCONIOSES



READER CODE   000                                                    RADIOGRAPH IDENTIFIER 000000000
DATEOFREADING  00-00-0000                                            DATE OF RADIOGRAPH    00-00-0000
TECHNICAL QUALITY
Grade 1,2,3 or 4                                                                          (Mark appropriate box) [ ] []] IT] @]
                                                                                            If grade not 1, Comment required here
Comment on technical quality:




PARENCHYMAL ABNORMALITIES

  Small opacities
        Profusion (4-point scale)
        (Consult standard radiographs - mark profusion category)

        Predominant shape and size       p, q, r, s, tor u
        (Consult standard radiographs)   (Mark only one box)




  Large opacities                        Mark 0 for none
                                         or mark A, B or C
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PLEURAL ABNORMALITIES
                                                                                                                     Yes   D    No    D
                                                                                                                If "No" go to *SYMBOLS
(0 = None      R = Right      L = Left)

                                                                               Pleural thickening - PT

                                                                               Pleural calcification - PC


* SYMBOLS                                                                                                            Yes   D No D
                                                                                                   (Circle as appropriate; if od circled,
                                                                                                   COMMENT must be made below)
fr   hi   ho   id   ih   kl    me    pa   pb   pi   px   ra   rp   tb   od


COMMENTS                                                                                                             Yes   D No D
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                   Appendix C - Description of standard
                   radiographs


         The Complete Set (22 radiographs)
          The ILO (2000) International Classification of Radiographs of Pneumoconioses
is accompanied by 22 standard radiographs. Two of them illustrate category % profusion
of small opacities. Fifteen others define small-opacity profusion categories (1/1, 2/2 and
3/3), and some of the shapes and sizes of these opacities (p, q, r, S, and t). Large opaci-
ties (categories A, B and C) are shown on three additional radiographs. These 20 radi-
ographs are described in the following table using the conventions defined in the preced-
ing text and including Comments. The site of small opacities is shown by a tick in the
boxes symbolizing the zones of the lungs, as follows:
                                              Right     Left

                                 Upper         D         D
                                 Middle        D         D
                                  Lower        D         D
          The two remaining standard radiographs are composite reproductions of sections
from full-size chest radiographs. One depicts increasing profusion of irregular small u-
sized opacities. The other illustrates various pleural abnormalities.
          The radiographs that define the small-opacity profusion categories are copies of
the same standards that were published in 1980, thus preserving continuity and consis-
tency in the Classification. As noted in footnote 3 on page 3, the standard radiographs were
chosen to demonstrate the radiographic features of the pneumoconioses, rather than to
demonstrate technical quality.
          The descriptions of the radiographs in the following table are the consensus
views of a group of experts who reassessed the standards in the year 2000. These descrip-
tions differ in some respects from those published in the earlier (1980) edition of the Clas-
sification. Judgements about the technical quality of the radiographs reflect familiarity
with current optimal techniques and thus may appear more severe, with only six graded 1
(good). Descriptions of pleural abnormalities now follow the modified conventions that
are defined in these Guidelines (section 3.3). The Comments in the right-hand column of
the table include some additional observations by the reviewers.




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         The Quad Set (14 radiographs)
         Also available from the ILO is a set of 14 standard radiographs that are wholly
compatible with the Complete Set referred to above. 1 The Quad Set may be preferred by
some users of the Classification. It includes nine of the most commonly used standard radi-
ographs from the Complete Set (both category 0/0 examples, six showing categories Ill,
2/2 and 3/3 for q/q and tit small opacities, and the composite radiograph that illustrates
pleural abnormalities). The remaining five radiographs in the Quad Set are composite
reproductions of quadrant sections from the other radiographs in the Complete Set. Four
of them show different profusion categories for small opacities classifiable as pIp, r/r, sIs
and u1u, respectively, and one shows large opacities (categories A, B and C).
         Scientific reports that mention these Guidelines and the associated standard radi-
ographs should refer to them explicitly as the ILO (2000) International Classification of
Radiographs of Pneumoconioses, to avoid confusion with earlier editions of the Classifi-
cation and copies of standard radiographs. The international trial, which demonstrated the
general compatibility of the Quad Set with the Complete Set, showed that, when using the
Quad Set, some readers identified large opacities less frequently than when they used the
Complete Set. Use of the Quad Set was also associated with an increase in the frequency
with which some readers described the shapes of the small opacities that they saw as
predominantly irregular, rather than rounded. It is recommended, therefore, that authors
of research reports should indicate which set of standard radiographs (the Complete Set
or the Quad Set) was used in their studies.




         I   See footnote 1 in the foreword.


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     Description of standard radiographs
     Standard          Technical   Parenchymal abnormalities                   Pleural abnormalities                                                  Symbols   Comments
     radiograph        Quality
N    (lLD,20001                    Profusion    Shape      Zones   Large       Chest wall                 Costophrenic   Diaphragm   Cal cification                                                   :J>.
VJ                                              and size           opacities                              angle                                                                                       ~

                                                                               Plaques       Diffuse      obliteration                                                                                ~
                                                                               (localized    pleural                                                                                                  ~
                                                                               pleural       thickening                                                                                               ~
                                                                               thickening)                                                                                                            (J



     0/0 (example 1)   2           0/0                             No          No            No           No             No          No               None      Quality: unsharp upper ribs.
                                                                                                                                                                Vascular pattern well illustrated.

     0/0 (example 2)   2           0/0                             No          No            No           No             No          No               None      Quality: unsharp upper ribs.
                                                                                                                                                                Vascular pattern well illustrated,
                                                                                                                                                                but not as clearly as in example 1.

     1/1 pIp           2           1/1          pIp        RL A                No            No           No             No          No                         Quality: scapular overlap.
                                                           00                                                                                         ca
                                                           00                                                                                         rp        rp in left lower zone.
                                                           00                                                                                         od        od in left upper and left lower
                                                                                                                                                                zones; evaluate.

     2/2 pIp                       2/2          pIp        RL      No          No            No           No             No          No               cg
                                                           00                                                                                         pi
                                                           00
                                                           00
     3/3 pIp           2           3/3          pIp        RL      No          No            No           No             No          No                         Quality: scapular overlap.
                                                           00                                                                                         ca        ca in right upper zone.
                                                           00
                                                           00
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     Description of standard radiographs
     Standard     Technical   Parenchymal abnormalities                   Pleural abnormalities                                                 Symbols   Comments
     radiograph   Quality
N    (ILD,2000)               Profusion    Shape      Zones   Large       Chest wall                 Costophrenic   Diaphragm   Calcification                                                  C'l
0\                                         and size           opacities                              angle                                                                                     s:;
                                                                          Plaques       Diffuse      obliteration                                                                              t::i
                                                                          (localized    pleural                                                                                                ~
                                                                          pleural       thickening                                                                                             ~
                                                                          thickening)                                                                                                          ~
                                                                                                                                                                                               ">:1

     1/1 q/q      2           1/1          q/q        R L     No          No            No           No             No          No              None      Quality: overexposed;                ~
                                                                                                                                                                                               ~
                                                      00                                                                                                  costophrenic angles excluded.        t>i

                                                      00                                                                                                                                       ~
                                                                                                                                                                                               t>i
                                                      00                                                                                                                                       ~
                                                                                                                                                                                               ~
     2/2 q/q                  2/2          q/q        R L     No          No            No           Yes            No          No              None      Right costophrenic angle             §
                                                      00
                                                                                                                                                                                               ~
                                                                                                      R L                                                 appearance due to muscle slip.
                                                      00                                             00                                                                                        ;gv,
                                                      00
                                                                                                                                                                                               ~
     3/3 q/q      2           3/3          q/q        R L     No          No            No           No             No          No                        Quality: underexposed;               ~
                                                                                                                                                                                               t>i
                                                      00                                                                                        pi        costophrenic angle excluded.         ~
                                                      00                                                                                                                                       0
                                                                                                                                                                                               (J

                                                      00                                                                                                                                       ~
                                                                                                                                                                                               C;
     1/1 rlr      2           1/1          rlr        R L     No          No            No           Yes            No          No              None      Quality: scapular overlap; unsharp   ~
                                                                                                                                                                                               v,

                                                      00                                             R L                                                  lower zones. Profusion of small
                                                      00                                             00                                                   opacities is more marked in right
                                                      00                                                                                                  lung.

     2/2 rlr      2           2/2          rlr        R L     No          No            No           No             No          No                        Quality: contrasttoo high.
                                                      00                                                                                        hi        hi in right paratracheal area;
                                                      00                                                                                                  evaluate.
                                                      00
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       Description of'standard radiographs
       Standard     Technical   Parenchymal abnormalities                  Pleural abnormalities                                                 Symbols   Comments
       radiograph   Quality
N      (ILO,2000)               Profusion   Shape      Zones   Large       Chest wall                 Costophrenic   Diaphragm   Calcification                                               :t>.
'-.l                                        and size           opacities                              angle                                                                                  '"0
                                                                           Plaques       Diffuse      obliteration                                                                           ~
                                                                           (localized    pleural                                                                                             ~
                                                                           pleural       thickening                                                                                          ~
                                                                           thickening)                                                                                                       <J

       3/3 rlr      2           3/3         rlr        RL      No          No            No           No             No          No                        Quality: contrasttoo high.
                                                       00                                                                                        ax        ax in right upper zone.
                                                       00                                                                                        ih
                                                       00
       1/1 sit      2           1/1         sit        RL      No          No            No           No             No          No              None      Quality: unsharp areas;
                                                       00                                                                                                  costophrenic angles excluded.
                                                       00
                                                       00
       2/2 sis      2           2/2         sis        RL      No          No            No           No             No          No                        Quality: slightly underexposed;
                                                       00                                                                                                  costophrenic angles excluded.
                                                       00                                                                                        em        em in upper zones.
                                                       00                                                                                        pb        pb in left lower zone.

       3/3 sis      2           3/3         sis        RL      No          No            No           No             No          No                        Quality: slightly underexposed;
                                                       00                                                                                                  scapular overlap.
                                                       00                                                                                        ho        ho at right costrophenic angle
                                                       00                                                                                        ih
                                                                                                                                                 pi        See footnote 14 on page 9.
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     Description of standard radiographs
     Standard          Technical   Parenchymal abnormalities                  Pleural abnormalities                                                 Symbols   Comments
     radiograph        Quality
N    (llD,2000)                    Profusion   Shape      Zones   large       Chest wall                 Costophrenic   Diaphragm   Calcification                                                   (')
00                                             and size           opacities                              angle                                                                                      :;:;
                                                                              Plaques       Diffuse      obliteration                                                                               i::l
                                                                              (localized    pleural                                                                                                 ~
                                                                              pleural       thickening                                                                                              ~
                                                                              thickening)                                                                                                           ~
                                                                                                                                                                                                    "1

     1/1 tit            2          1/1         tit        RL      No          Yes           No           Yes            No          Yes             None      Quality: scapular overlap on right,   ~
                                                                                                                                                                                                    Sj
     Costophrenic                                         DO                  RL                         RL                         RL                        but visualization of lung and         t>j

     angle obliteration                                   00                  00                         00                         00                        pleura not compromised.               ~
                                                                                                                                                                                                    t>j

                                                          00                  face-on                                                                         This radiograph defines the lower     ~
                                                                                                                                                              limit of costophrenic angle           $:
                                                                                                                                                                                                    S2
                                                                                                                                                              obliteration. Calcified face-on       0
                                                                                                                                                              plaques at lower and mid-left         ~
                                                                                                                                                              chest wall.                           ~
                                                                                                                                                                                                    Vj



     2/2 tit                       2/2         tit        RL      No          No            No           No             No          No              None
                                                                                                                                                                                                    ~
                                                                                                                                                                                                    ~
                                                          00                                                                                                                                        t>j

                                                          00                                                                                                                                        ~
                                                                                                                                                                                                    0
                                                          00                                                                                                                                        8
                                                                                                                                                                                                    ~
     3/3 tit                       3/3         tit        RL      No          No            No           No             No          No              ca cp     ca: superior to left hilum.           ~
                                                                                                                                                                                                    ?;J
                                                          00                                                                                        ho id     ho: best seen at left lower zone.
                                                          00                                                                                        ih od     od: nodule lateral to left hilum.
                                                          00
     0/0                                                                                                                                                      This composite radiograph
     1/1 u/u                                                                                                                                                  illustrates central subcategories
     2/2 u/u                                                                                                                                                  of profusion of small opacities
     3/3 u/u                                                                                                                                                  classifiable for shape and size as
                                                                                                                                                              u/u.
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     Description of standard radiographs
     Standard     Technical   Parenchymal abnormalities                  Pleural abnormalities                                                 Symbols   Comments
     radiograph   Quality
N    (ILO,2000)               Profusion   Shape      Zones   Large       Chest wall                 Costophrenic   Diaphragm   Calcification                                                     ;:,..
                                                                                                                                                                                                 ~
\Q                                        and size           opacities                              angle
                                                                         Plaques       Diffuse      obliteration
                                                                         (localized    pleural                                                                                                   ~
                                                                                                                                                                                                 t;j
                                                                         pleural       thickening                                                                                                S<
                                                                         thickening)                                                                                                             (')



     A            2           2/2         p/q        RL A                No            No           No             No          No              None      Quality: high contrast; right
                                                     00                                                                                                  scapular overlap obscures
                                                     00                                                                                                  visualization.
                                                     00                                                                                                  If concerned that right upper zone
                                                                                                                                                         opacity could be cancer, add
                                                                                                                                                         symbol ca.

     B                        1/2         q/p        RL B                No            No           No             No          No              ax
                                                     00                                                                                        ca        ca: right lateral mid-zone nodule.
                                                     00
                                                     00
     C                        2/1         q/t        RL C                No            No           No             No          No              ax   bu   bu at right upper zone.
                                                     00                                                                                        em es     em best seen at left lower zone;
                                                     00                                                                                        ih        es at hilar and azygos node.
                                                     00                                                                                                  Small opacities difficult to classify
                                                                                                                                                         in the presence of large opacities.
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          GUIDEliNES FOR THE USE OF RADIOGRAPHS OF PNEUMOCONIOSES




ILO (2000) Composite standard radiograph showing examples
of pleural abnormalities

 UPrcer-left section:                                      UPrcer-right section:
 ca cified plaques at diaphragm                            ca cified in-profile and face-on plaques




 Lower-left section:
 diffuse in-profile pleural thickening with the required
 costophrenic angle obliteration; also diffuse face-on
 pleural thickening                                        Lower-right section:
                                                           calcified and uncalcified face-on plaques




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                   Appendix D - Diagrams



          The diagrams on the following pages represent illustrations of radiographic
features that are included in the Complete Classification. Those features are defined in the
text of these Guidelines and by the appearances on the standard radiographs. The diagrams
are intended to serve as pictorial reminders, but they are not a substitute for the standard
radiographs or the written text.
          Diagrams that represent symbols do not illustrate all the manifestations of the
conditions defined by these symbols, for example ca (carcinoma), cg (calcified granu-
loma), od (other disease). The two drawings of appearances classifiable as od in this
appendix represent lobar pneumonia and aspergilloma, goiter and hiatal hernia.




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        GUIDEliNES FOR THE USE OF RADIOGRAPHS OF PNEUMOCONIOSES




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                                                        s     tt
q        •          1.5 - 3                             t
r                     3-10

                     +

             :: 1-5 em



    B


    c
        > 5cm - up to RUZ
                                    •
             Area>RUZ


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      APPENDIXD




Pleural abnormalities -                            leural calcification:
(localized and diffuse pleural thickening):                          Chest wall




                                               •
 Extent:             Width:
 0=0                 a= 3-5 mm
 1 = up to Y4        b= 5-10 mm
 2='!4-Vz
 3> liz
                     c=>lOmm
                                  ISee Text!   I                     Diaphragm




                                      •
                          \,




Costophrenic angle:                                                  Other sites




   ~~\J
      W:W       :0                   =0



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                             Appendix E - Summary of details of the ILO (2000) International
                             Classification of Radiographs of Pneumoconioses
v.,
v,    Features                     Codes                    Definitions

      TECHNICAL QUALITY
                                   1                        Good.
                                   2                        Acceptable, with no technical defect likely to impair classification of the radiograph for pneumoconiosis.
                                   3                        Acceptable, with some technical defect but still adequate for classification purposes.
                                   4                        Unacceptable for classification purposes.
                                                            Iftechnical quality is not grade 1, a comment must be made aboutthe technical defect.

      PARENCHYMAL ABNORMALITIES
        Small opacities
                 Profusion                                  The category of profusion is based on assessment of the concentration of opacities by comparison with
                                                            the standard radiographs.
                                   0/-      0/0       0/1   Category 0: small opacities absent or less profuse than category 1.
                                   1/0      1/1       1/2   Categories 1,
                                   2/1      2/2       2/3              2 and
                                   3/2      3/3       3/+              3represent increasing profusion of small opacities, as defined by the corresponding standard radiographs.
                 Zones                 RU        LU         The zones in which the opacities are seen are recorded. The right (R) and left (L) thorax are both divided into three
                                       RM        LM         zones: upper (U)/ middle (M) and lower (L).
                                       RL        LL         The category of profusion is determined by considering the profusion as a whole over the affected zones of the
                                                            lung and by comparing this with the standard radiographs - see footnote 5 on page 5 of these Guidelines.
                 Shape and size
                 - rounded         pip      q/q       r/r   The letters p/ q and r denote the presence of small rounded opacities, with three sizes defined by the appearances
                                                            on the standard radiographs:
                                                              p = diameter up to about 1.5 mm;
                                                              q = diameter exceeding about 1.5 mm and up to about 3 mm;
                                                              r =diameter exceeding about 3 mm and up to about 10 mm.
                 -   irregular     sis      Vt        u/u   The letters s, t and u denote the presence of small irregular opacities, with three sizes defined by the appearances
                                                            on the standard radiographs:
                                                              s = width up to about 1.5 mm;
                                                              t = width exceeding about 1.5 mm and up to about 3 mm;
                                                              u = width exceeding 3 mm and up to about 10 mm.
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Features                             Codes                      Definitions

            -     mixed              pis pit p/u p/q p/r        For mixed shapes (or sizes) of small opacities, the predominant (primary) shape and size is recorded first.
                                     q/s q/t q/u q/p q/r        The presence of a significant number of another shape and size (secondary) is recorded after the oblique stroke.
                                     r/s r/t r/u rip r/q
                                     sip s/q sir sit s/u
                                     tIp t/q t/r tIs t/u
                                     u/p u/q u/r u/s u/t

Large opacities                      o ABC                      One large opacity is defined as an opacity having the longest dimension exceeding 10 mm. Categories of large
                                     (0 = no large opacities)   opacities are defined below. These definitions take precedence over the examples of large opacities illustrated
                                                                on standard radiographs.
                                                                Category A: one large opacity having the longest dimension up to about 50 mm, or several large opacities with the
                                                                               sum of their longest dimensions not exceeding about 50 mm.
                                                                Category B: one large opacity having the longest dimension exceeding 50 mm but not exceeding the equivalent
                                                                              area ofthe right upper zone, or several large opacities with the sum of their longest dimensions
                                                                              exceeding 50 mm but not exceeding the equivalent area of the right upper zone.
                                                                Category C: one large opacity which exceeds the equivalent area of the right upper zone, or several large
                                                                              opacities which when combined exceed the equivalent area of the right upper zone.

PLEURAL ABNORMALITIES                                           Three types of pleural abnormalities are recognized: pleural plaques (localized pleural thickening), costophrenic
                                                                angle obliteration and diffuse pleural thickening. These abnormalities are recorded as absent (0) or present.
Pleural plaques (localized pleural                              If present they are recorded separately for the right (R) and left (L) sides.
thickening)
            Chest wall                                          Pleural plaques on the chest wall are recorded separately as "in-profile" or "face-on". A minimum width of about
              in-profile                  o R L                 3 mm is required for an in-profile plaque to be recorded as present. The presence or absence of calcification is
              - calcification             o RL                  also noted separately for in-profile and face-on plaques. When calcification is seen, a plaque is also recorded as
              - width (optional)     R(a, b, c) L(a, b, c)      present at that site. For optional recording of width of an in-profile plaque, see footnote 8 on page 6.
              face-on                     o RL
              - calcification             o R L
              extent                 R(l, 2,3) L(l, 2, 3)       Extent refers to the total length of involvement with respect to the projection of the lateral chest wall for in-profile
                                                                and face-on plaques combined:
                                                                1=total length up to Y. of the projection of the lateral chest wall;
                                                                2 =total length exceeding Y. and up to Y2 of the projection of the lateral chest wall; and
                                                                3 =total length exceeding Y2 of the projection of the lateral chest wall.
            Diaphragm                     o R L
            - calcification               o R L                 When calcification is seen, a plaque is also recorded at that site.
            Other sites                   o R L                 Other sites include the mediastinal pleura in the para-spinal or para-cardiac locations.
            - calcification               o R L                 When calcification is seen, a plaque is also recorded at that site.
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Features                          Codes                     Definitions

Costophrenic angle obliteration         o R L               The lower limit for costophrenic angle obliteration is defined by the standard radiograph showing profusion
                                                            category 1/1 tit.
Diffuse    Chest wall                                       Diffuse pleural thickening extending up the lateral chest wall is recorded only in the presence of an obliterated
pleural      in-profile                 o R L               costophrenic angle. If present, diffuse pleural thickening is recorded separately for the right and left sides when
thickening   - calcification            o R L               seen in-profile and when seen face-on. The presence or absence of calcification is noted in both cases.
             - width (optional)   R(a, b, c) L(a, b, c)     For optional recording of width of in-profile diffuse pleural thickening, see footnote 8 on page 6.
             face-on                    o R L
             - calcification            o R L
             extent               R(l, 2, 3)   L(l, 2, 3)   Extent refers to the total length of involvement with respect to the projection of the lateral chest wall for in-profile
                                                            and face-on varieties combined:
                                                            1;:: total length up to Yo of the projection of the lateral chest wall;
                                                            2;:: total length exceeding Yo and up to Y2 of the projection of the lateral chest wall; and
                                                            3;:: total length exceeding Y2 of the projection of the lateral chest wall.
SYMBOLS                                                     The definition of each symbol should be understood as being preceded by an introductory qualifying word or
                                                            phrase such as" changes indicative of", "opacities suggestive of", or" suspect".
                                  aa                        atherosclerotic aorta
                                  at                        significant apical pleural thickening
                                  ax                        coalescence of small opacities
                                  bu                        bulla(e)
                                  ca                        cancer: thoracic malignancies excluding mesothelioma
                                  cg                        calcified non-pneumoconiotic nodules (e.g. granuloma) or nodes
                                  cn                        calcification in small pneumoconiotic opacities
                                  co                        abnormality of cardiac size or shape
                                  cp                        cor pulmonale
                                  cv                        cavity
                                  di                        marked distortion of an intrathoracic structure
                                  ef                        pleural effusion
                                  em                        emphysema
                                  es                        eggshell calcification of hilar or mediastinal lymph nodes
                                  fr                        fractured rib(s) (acute or healed)
                                  hi                        enlargement of non-calcified hilar or mediastinal lymph nodes
                                  ho                        honeycomb lung
                                  id                        ill-defined diaphragm border
                                  ih                        ill-defined heart border
                                  kl                        septal (Kerley) lines
                                  me                        mesothelioma
                                  pa                        plate atelectasis
                                  pb                        parenchymal bands
                                  pi                        pleural thickening of an interlobar fissure
                                  px                        pneumothorax
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Features   Codes            Definitions

           ra               rounded atelectasis
           rp               rheumatoid pneumoconiosis
           tb               tuberculosis
           od               other disease or significant abnormality

COMMENTS   Y (= Yes)        In addition to comments aboutthe technical quality of the radiograph (see above), comments are also required if
           N (= No)         the symbol od (other disease) is recorded, and to identify any part of the reading of a chest radiograph which is
                            believed by a reader to be probably or certainly not dust related. Comments should also be recorded to provide
                            other relevant information.
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                 Appendix F - Participants in ILO-
                 convened meetings leading to the revised
                 (2000) edition of the Classification

         Meeting of Discussion Group at ILO Headquarters,
         Geneva, 6-7 November 1989

         Participants
Professor P. Bartsch, Institut E. Malvoz, Liege, Belgium
Dr. Heinz Bohlig, Dormagen-Zons, Germany
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        GUIDELINES FOR THE USE OF RADIOGRAPHS OF PNEUMOCONIOSES




        Meeting of Discussion Group in Kyoto, Japan,
        15-16 October 1997

        Participants
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Professor Hisao Shida, Rosai Hospital for Silicosis, Tochigi, Japan
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        Meeting of Discussion Group at the Office of the
        American College of Radiology, Reston, Virginia,
        United States, 20-21 March 1998

        Participants
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         APPENDIXF



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         Meeting of Discussion Group at the ILO
         Branch Office, Washington, DC, United States,
         26 October 2000

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Dr. Benjamin O. AlIi




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          Film readers who participated in the international
          film-reading trial of new composite standard
          radiographs (the "Quad" trial), 1992-95
Canada
Dr. Raymond Begin, Faculte de medecine, Universite de Sherbrooke, Quebec
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        Ontario
Dr. David C. F. Muir, Health Sciences Center, McMaster University, Hamilton, Ontario

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Professor Alois David, Postgraduate Medical School, Prague
Dr. Jiff Slepicka, Faculty Hospital, Ostrava
Dr. Frantisek Stanfk:, Department of Occupational Diseases, Miners' Hospital, Karvina

Finland
Dr. Marja-Liisa Kokko, Tampere City Hospital, Tampere
Dr. Ossi Korhola, Helsinki University Central Hospital, Helsinki
Dr. Kristina M. Virkola, Helsinki University Children's Hospital, Helsinki
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Professor Patrick Brochard, Universite Bordeaux II, Bordeaux
Professor Dominique Choudat, Universite Paris V, Faculte de medecine Cochin, Paris
Professor Marc Letourneux, Universite de Caen

Germany
Dr. Kurt G. Hering, Knappschaftskrankenhaus, Dortmund
Dr. Peter Rathjen, Knappschaftskrankenhaus, Dortmund
Dr. Klaus Siegmund, Institut fur Arbeitsmedizin der Heinrich-Heine-Universitat, DUssel-
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Dr. Volkmar Wiebe, Berufgenossenschaftliche Krankenanstalten, Universitatsklinik,
         Bochum


          I    As of 1 January 1993. Prior to that date, Czechoslovakia.


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         APPENDIXF




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Dr. Andrzej Stasiow, Hospital Ward and Outpatient Clinic for Occupational Diseases in
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         Morgantown, West Virginia




         I   As of 1 January 1993. Prior to that date, Czechoslovakia.


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Occupational Safety and Health Series
Guidelines for the use of the ILO International Classification of Radiographs of Pneumo-
conioses, revised edition 2000 (No. 22), 10 Swiss francs.
This booklet accompanies and is included with:
International Classification of Radiographs of Pneumoconioses, Complete set of 22 radiographs.
"Quad" set of 14 radiographs (prices available on request).
Occupational health problems of young workers (No. 26), 10 Swiss francs.
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